     Case 4:20-cv-05146-YGR         Document 640        Filed 05/02/22     Page 1 of 5



 1   BLEICHMAR FONTI & AULD LLP                        DICELLO LEVITT GUTZLER LLC
     Lesley Weaver (Cal. Bar No. 191305)               David A. Straite (admitted pro hac vice)
 2   Angelica M. Ornelas (Cal. Bar No. 285929)         One Grand Central Place
     Joshua D. Samra (Cal. Bar No. 313050)             60 East 42nd Street, Suite 2400
 3   555 12th Street, Suite 1600                       New York, NY 10165
     Oakland, CA 94607                                 Tel.: (646) 933-1000
 4   Tel.: (415) 445-4003                              dstraite@dicellolevitt.com
     Fax: (415) 445-4020
 5   lweaver@bfalaw.com                                Amy Keller (admitted pro hac vice)
     aornelas@bfalaw.com                               Adam Prom (admitted pro hac vice)
 6   jsamra@bfalaw.com                                 Sharon Cruz (admitted pro hac vice)
                                                       Ten North Dearborn St., Sixth Floor
 7                                                     Chicago, IL 60602
     SIMMONS HANLY CONROY LLC                          Tel.: (31) 214-7900
 8   Jason ‘Jay’ Barnes (admitted pro hac vice)        akeller@dicellolevitt.com
     An Truong (admitted pro hac vice)                 aprom@dicellolevitt.com
 9   Eric Johnson (admitted pro hac vice)              scruz@dicellolevitt.com
     112 Madison Avenue, 7th Floor
10   New York, NY 10016
     Tel.: (212) 784-6400
11   Fax: (212) 213-5949
     jaybarnes@simmonsfirm.com
12   atruong@simmonsfirm.com
     ejohnson@simmonsfirm.com
13
     Counsel for Plaintiffs
14
                            IN THE UNITED STATES DISTRICT COURT
15                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
16

17   PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
     themselves and all others similarly situated,
18                                                   PLAINTIFFS’ ADMINISTRATIVE
            Plaintiffs,                              MOTION TO CONSIDER WHETHER
19                                                   ANOTHER PARTY’S MATERIAL SHOULD
            v.                                       BE SEALED
20
     GOOGLE LLC,                                     CIVIL L.R. 7-11 and 79-5(f)
21
            Defendant.                               Referral: Hon. Susan van Keulen, USMJ
22
                                                     No Hearing Date Set Pursuant to L.R. 7-11(c)
23

24

25

26

27

28
     Case 4:20-cv-05146-YGR          Document 640         Filed 05/02/22    Page 2 of 5



 1          Pursuant to Civil Local Rules 7-11 and 79-5(f) and the Stipulated Protective Order entered
 2   in this matter, Dkt. No. 61, Plaintiffs respectfully submit this Administrative Motion to Consider
 3   Whether Another Party’s Material Should be Sealed, to the extent such material is quoted,
 4   summarized, or otherwise reflected in the documents (or portions thereof) indicated below:
 5
                Document              Portions Sought to be Sealed          Evidence Offered in
 6
                                                                            Support of Sealing
 7                                  Page i, Line 8; Page 1, Lines 14-17;
          Plaintiffs’ Motion for    Page 3, Lines 6, 8-9, 14-15, 18-21,
 8        Leave to Supplement       25-28; Page 4, Lines 1-2, 5-9, 22-
          Plaintiffs’ April 15,     24, 26; Page 5, Lines 4-10, 12-13;
 9        2022 Response to          Page 6, Lines 1-2, 7-10, 12-24, 26-
10        Google’s Objections       27; Page 7, Lines 17-22, 27; Page
                                                                           Defendant to provide
          to the Special            8, Lines 1-5, 9-17, 19-22, 28; Page
      1                                                                    evidence, per
11        Master’s Sealed           9, Lines 1, 16, 18, 20-28; Page 10,
                                                                           Local Rule 79-5(f)
          Recommendations and       Lines 1-8, 13-27; Page 11, Lines 3-
12        Order Dated April 4,      5, 8, 12, 14-22, 25-28; Page 12,
          2022 (Dkt. No. 604)       Lines 1, 3-6, 8-14, 16, 19-20, 23,
13        Based on Newly            25-26; Page 13, Lines 6-7, 9-10,
14        Produced Evidence         12-13, 15-20, 28; Page 14, Lines 1,
                                    3-7, 9-18
15        Joint Declaration of
          Jay Barnes, Lesley
16                                                                         Defendant to provide
          Weaver, and David
      2                             Entire Document                        evidence, per
          Straite in Support of
17                                                                         Local Rule 79-5(f)
          Plaintiffs’ Motion for
18        Leave
          Exhibits A-E to Joint
19        Declaration of Jay
          Barnes, Lesley                                                   Defendant to provide
20        Weaver, and David         Entire Documents                       evidence, per
      3
          Straite in Support of                                            Local Rule 79-5(f)
21
          Plaintiffs’ Motion for
22        Leave

23

24          Paragraph 12.4 of the Stipulated Protective Order prohibits a party from filing materials

25   designated “Confidential” or “Highly Confidential – Attorneys’ Eyes Only” in the public record.

26   Portions of the documents listed above quote, summarize, or otherwise reflect information that

27   Defendant Google LLC has designated “Confidential” or “Highly Confidential – Attorneys’ Eyes

28

     PLS. ADMIN. MOT. TO CONSIDER                     1          CASE NO. 4:20-CV-05146-YGR-SVK
     Case 4:20-cv-05146-YGR            Document 640          Filed 05/02/22     Page 3 of 5



 1   Only.” Pursuant to Civil Local Rules 79-5(c)(1) and (f)(3), Defendant, as the Designating Party,
 2   bears the responsibility to establish that all of the designated material is sealable.
 3

 4
      Dated: May 2, 2022                                    Respectfully submitted,
 5
      BLEICHMAR FONTI & AULD LLP                            DICELLO LEVITT GUTZLER LLC
 6
      By: /s/ Lesley E. Weaver                              By:     /s/ David Straite
 7    Lesley Weaver (Cal. Bar No. 191305)                   David A. Straite (admitted pro hac vice)
      Angelica M. Ornelas (Cal. Bar No. 285929)             One Grand Central Place
 8    Joshua D. Samra (Cal. Bar No. 313050)
      555 12th Street, Suite 1600                           60 East 42nd Street, Suite 2400
 9    Oakland, CA 94607                                     New York, NY 10165
      Tel.: (415) 445-4003                                  Tel.: (646) 933-1000
10    Fax: (415) 445-4020                                   dstraite@dicellolevitt.com
      lweaver@bfalaw.com
11    aornelas@bfalaw.com
      jsamra@bfalaw.com
12
      SIMMONS HANLY CONROY LLC
13
      By:     /s/ Jay Barnes
14    Jason ‘Jay’ Barnes (admitted pro hac vice)
      An Truong (admitted pro hac vice)
15    Eric Johnson (admitted pro hac vice)
      112 Madison Avenue, 7th Floor
16    New York, NY 10016
      Tel.: (212) 784-6400
17    Fax: (212) 213-5949
      jaybarnes@simmonsfirm.com
18    atruong@simmonsfirm.com
      ejohnson@simmonsfirm.com
19

20

21

22

23

24

25

26

27

28


     PLS. ADMIN. MOT. TO CONSIDER                       2             CASE NO. 4:20-CV-05146-YGR-SVK
     Case 4:20-cv-05146-YGR           Document 640        Filed 05/02/22       Page 4 of 5



 1                ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)
 2          I, David Straite, attest that concurrence in the filing of this document has been obtained
 3   from the other signatories. I declare under penalty of perjury that the foregoing is true and correct.
 4
     Dated: May 2, 2022                                    /s/ David Straite
 5
                                                           David A. Straite
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     ATTESTATION                                                    CASE NO. 4:20-CV-05146-YGR-SVK
     Case 4:20-cv-05146-YGR          Document 640        Filed 05/02/22       Page 5 of 5



 1                                   CERTIFICATE OF SERVICE
 2          I, David A. Straite, hereby certify that on May 2, 2022, I electronically filed the foregoing
 3   document with the Clerk of the United States District Court for the Northern District of California
 4   using the CM/ECF system, which will send electronic notification to all counsel of record. I also
 5   caused a copy of the under seal filings to be delivered to counsel for Defendant Google LLC via
 6   electronic mail.
 7
     Dated: May 2, 2022                                   /s/ David Straite
 8
                                                          David A. Straite
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     CERTIFICATE OF SERVICE                                       CASE NO. 4:20-CV-05146-YGR-SVK
